THE STATE OF TEXAS                                 FELONY                          WARRANT OF ARREST
                vs                                                                 ·ant No. F2220059
ELLIS DANA ELIZABETH


                                                                D
DOB-(




To any Sheriff, Constable or e e fficer of the State of Texas, Greetings: You are Hereby
Commanded to Arrest        EL                                if to be found in your County and
bring Him/Her before me, a Justice of the Peace in and for Precinct 2 of Midland County, Texas,
at my office in Midland in said County, immediately, to then and there answer the State of Texas
for an offense against the laws of said State, to-wit:

        FAIL TO REPORT W/INTENT TO CONCEAL THE ABUSE OR NEGLECT

of which offense He/She, ELLIS, DANA ELIZABETH is accused by the written complaint,
under oath, of MPD J ALONZO filed before me.
      Herein Fail Not, but of this writ make due return, showing how you have executed the
same.
      Witness my official signature, this the 16th day of February 2022


$q~  c:> BOND
MUSBE MAGISTRATED PRIOR
                                                                 DAVID M. COBOS
                                                                 Justice of the Peace, Pct 2
TO RELEASE ON BOND                                               Midland County, Texas


Come to hand the _ _ _ day of _ _ _ _ _, 20_, at _ _ _ o'clock __.M., and executed on the _ __
day of                     20_, at            o'clock __.M., by arresting the within names
_ __ _ _ _ _ _ _ __ _ _ _ _ _ __ _.at _ _ _ _ _ __ _ _ _ _ _ m
_ _ __ _ _ _ County, Texas, and Taking his bond or Placing him in Jail at _ _ _ _ _ _ __
        I actually and necessarily traveled _ _ miles in the service of this writ, in addition to any other mileage I may
have traveled in the service of other process in this cause during the same trip.

FEES    -       Making Arrest ............ $_ _ _ __
                Mileage ....................... $_ _ _ __                 Sheriff/ Constable
                Taking Bond ............... $_ _ _ __
                Commitment. .............. $_ _ __ _                      _ _ _ _ _ _ _County, Texas
                Release ........................ $_ _ _ __
                                                                          by _ _ __ _ _ _ _Deputy
                TOTAL ....................... $_ _ _ __




                                                  Exhibit 2-001
OFFENSE: FAILURE TO REPORT

,J.P.#:          F~~tJ/d1
DATE:       Fchruarv 16, 2022

HOND:       s    !3 lroo
IN THE NAME AND BY THE AUTHOIUTY OF THE STA TE OF Tt:XAS:

        BEFORE ME, the undersigned authority, on this day personally appeared affiant,
who after being by me first duly sworn, says on or about the 20th day of .JANUARY,
AD. 2022 and before the making and filing of this complaint, in the County of Midland,
Stale of Texas,

                  DANA ELIZABETH ELLIS WF DOJ
                             (Name of Defendant)

                          reasonable cause to believe that the physical and mental health
and welfare of                           a child had been and may be adversely affected
by the offense of AGGRAVATED SEXUAL ASSAULT, and the said then and there
knowingly as a professional failed to report as provided by law, and has a duty to report
under 261.101 (a) of the Texas Family Code, and is a state jai I felony under 261.109 (c) of
the Texas Family Code, the actor intended to conceal the abuse or neglect

against the peace and dignity of the State.




    Sworn to and subscribed before me by am nt, a credible person. on this the l..(L_
dayof~,A.D. 20 d)..                                                                ,
                                                          =u~
                                                                          ----
                                                        JUSTICE OF THE PEACE

                                                        Precinct           Place- - -

                                                        Midland County, Texas

                                                        Time Filed: - - - - - --




                                   Exhibit 2-002
                             AFFI.DAVIT FOR ARREST WARRANT

                                               J.P.#    a iwj9
   THE STATE OF TEXAS
   COUNTY OF MIDLAND                                                                      Casc#220128019
   The undersigned affiant, being a peace officer under the laws of Texas, and being duly sworn,
   on oath, makes the following statement and accusation:

   1. Sus                                                                 Blonde Hair, Hazel Eyes, 57", 175LBS,
   TXDL

   2. It is the belief of Affiant, and he hereby charges and accuses, that said suspected party has
   committed the following offense: FAILURE TO REPORT TEXAS FAMILY CODE SECTION 261.109(C)
   (STATE JAIL FELONY) ON OR ABOUT JANUARY 20TH, 2022 AT MIDLAND CHRISTIAN SCHOOL LOCATED
   AT 2001 CULVER IN MIDLAND, IN THE COUNTY OF MIDLAND, TEXAS.

   3. Affiant has probable cause for said belief by reason of the foJlowing facts, to wit:

   The affiant Jennie /\.lonzo is a Detective with City of Midland Police Department and is currently assigned to
   the Crime Against Persons Division in the Investigative Service Bureau. Affiant has been employed with the
   Midland Police Dcpa11111ent for 9 years.

   On Friday, January 28, 2022, I, Detective Alonzo was the on-call Crimes Against Persons Detective and
   was notified in reference to a possible sexual assault of a child that occurred at Midland Christian School.
   I was further advised that the assau It did not just occur. The incident was reported to have occurred on or
   about Thursday, January 20 th , 2022, during baseball practice at Max H. Christensen Stadium located at
   4300 N. Lamesa.

   I contacted the victim,                     WM DOB -                  nd his mother Veronica Costilla in
   reference to the incidem. t\ 10         n er icw was scheduled !or I· riday, February I I, 2022, at the
   Children's Advocacy Center.

   CAC Interview wit!,                      vitll Forem'ic /11terviewer Rm/hi G" ur
   Radhi conducted an interview with               Radhi went over the rules of the interview witl-
   hc understood. Radhi went over that              ·nows the difference between telling the truth and telling a
   lic. -        greed to talk about true things today.

    Radhi asked ~             hy he was at the center on this date. -            explained Radhi that on a Tuesday
    in January 2022, alter practice he  went  into the locker room   to get changed.   When I          got into lhe
    locker room, the lights were turned off. -           stated that it wasfi·eshman   initiarirm day.
    stated that someone came after him and began hilling him. -                was pushed to the ground, and they
    were still hitting him. ~          lated he could hear everyone screaming when this occurred. -
    stated he hit back and ~          n told him th· t he was not allowed to hit back.-              ated the boy
                 was                 (WM DOil                   who is a I 0 th grader at Midland Christian.
• · - -lated that                                               hands so he could not hit back. -         nipped

                                                           1




                                               Exhibit 2-003
 -         over onto I. is· k and put a bat in his butt.           explained !hat he was wearing white
 baseball pants when         put th~            butt. nen t11e at was pushed into his butt, his pants and
 underwear were pushed in as well-             stated that he could foci the knob of the bat in his butt.
           explained that when he fell the bat, it was felt hard -          tatecl that when he got up his butt
 hurt, and it was sore.

  Radhi exited the interview for a break. W~                eturned to the interview room, she clarified with
 -            what had happened with the bat-                lated that 1he bat went into his butt-         lated
  that it felt like something poking him.              staled that his underwear was pushed in his butt.
-               lated that it felt like something was poking through his pants, puncturing his butt. -
  stated that his hands were behind his back.

- -tatcd thut he secs                 now. The two of them sec each other every day as they arc on the
~  ball team.

 On Friday, February 11, 2022, SGT R. Sharp and I went to Midland Christian School located at 2001
 Culver Dr. to speak with 1he Superintendent of the school, which is Jared Owen Lee (WM DOB
              . Lee was out of the office. However, I spoke with Dana Elizabeth Ellis     (WFDOB
               who is the scco.         hool principal. I requested for Ellis to have              come to
 the office. After some time,           came to the office and was later transported to the Midland Police
 Department.

 While speaking to Ellis, she advised me that she was aware of an investigation into the incident between
         and            Ell is stated that she knew it had been documented. I requested copies of the
 documentation. However, Ellis stated that Lee had the documentation pertaining to the incident and she
 did not have access to it. I requested that the documents be sent to me on Monday February 14, 2022. It
 was discovered that on Thursday, January 20, 2022, Ellis was notified in reference to a sexual assault that
 had occurred. Ellis stated she knew of the incident on January 20, 2022, that a one of baseball players had
 a baseball bat shoved into his nnus. On January 21, 2022, Ellis notified Lee in reference to the student
 having a baseball bat shoved up his an ~            h he was aware on that date. At that time Lee directed
 Gregory Neal McClcndon (WM DOB . . . . .) and Matthew David Counts (WM 001-                              ) lo
 conduct an "investigation" into the incident instead of notifying law enforcement or another state agency
 listed in Texas Family Code section: 261.101. I provided her with my card with my contact information.

 On February 14, 2022, I received a call from Lee who stated thal he would not provide the documentation
 and refused to answer any questions during the call, he requested a search warrant.

 It should be noted that in the original report, Officer Fonseca lis1ecl that he spoke with Lee on January 28,
 2022. During this interaction, Lee stated that their investigation found the baseball bat did in fact touch
             anus bL1t did not go inside.

 J\ search warrant was applied for and granted. The search warrant was served on February 14, 2022, at
 Midland Christian School.




                                                         Sec- I,
 During the course of the investigation, it was found that lhc following individuals employed with Midland
 Christian School had knowledge of the sexual assault on January 21, 2022 - Jared 0 . Lee who is the
 Superintendent of Midland Christian, Dana E. Ellis who is the Principal of the Secondary School,
 Matthew D. Counts who is the Vice Principal oflhc                         Gregory N. McClendon who is
 the Athletic Director, and Barry Lee Russell (WM 0013                  who is one of the baseball coaches.
 These individuals who arc administrators and teachers at M idlan ·11ristian School arc required by Texas
                                                         2




                                             Exhibit 2-004
Family Code:261.101 to report the incident to authorities. Instead of reporting the incident they have
continually attempted to conceal the incident or abuse from authorities. The above listed staff members of
the school conducted their own "investigation" although they had knowledge of the sexual assault.

During the search at Midland Christian School, I was given documents by Lee. These were described as
"notes" from McClendon and Counts. There was no documentation. These docL1mcnts were created either
February 11 th by Counts and February I 2th by McClcndon. In these notes, there was documentation that
describes -         s anus was touched with the baseball bat. However, McClcndon and Counts both
stated that on February 14, 2022, during separate interviews that this was most of the information they
could remember (interviews with students) since the incident occurred three weeks ago. None of the
students were interviewed by a forensic interviewer. The victim did not have a forensic interview, nor did
he have a SANE done at that lime due to law enforcement not being notified of the incident.

I was also given emails that contained communicmion between the initial complainant, Lee, Ellis, Counts,
McClcndon, and Russell. In the emails it was made very clear that a sexual assault had occurred, and the
school had a duty to report. The complainant told the school administration if they did not report the
incident, he would have to as a mnndatory/profcssional reporter. There were multiple emails exchanged.
Several of the administrators refused to report the incident as shown in emails when communicating and
responding to the complainant.

The above listed administrators of"Midland Christian School failed to report the abuse under Texas
Family Code Section: 261.109 in an attempt to conceal the allegation of a fellow student/baseball player
who sexually assaulted another student/baseball player (victim) with a baseball bat.

On this date, February 16, 2022, a warrant will he issued for the following - Jared Owen Lee, Dana
Elizabeth Ellis, Gregory Neal McClcndon, Matthew David Counts, and Barry Lee Russell for Failure to
Report (State Jail Felony).

ALL THE FACTS CONTAINED HEREIN ARE SUBSEQUENT TO ANO GATHERED THROUGH OFFICIAL POLICE
REPORTS AND FROM THE CRIMINAL INVESTIGATION CONDUCTED BY DETECTIVE JENNIE ALONZO OF THE
MIDLAND POLICE DPEARTMENT. THE ABOVE EVENTS OCCURRED IN THE CITY AND COUNTY OF MIDLAND,
TEXAS AND ARE TRUE AND CORRECT TO THE BEST OF AFFtANT'S KNOWLEDGE.

Wherefore, affiant asks for an issuance of a warrant that will authorize her t
party.




Subscribed and sworn to before me by said Affiant on this the 16TH day of Fcbruarv 2022 .



Time- - - - -                                                    •Justice of the Peace           -=-:_
                                                                 Precinct #
                                                                 Midland County, Texas



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                                         Exhibit 2-005
